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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION
UNITED STATES OF AMERICA §
v. ; CRIMINAL NO. 4:17-cr-00651-6
WILLIAM LOPEZ, :
Defendant. ;
PLEA AGREEMENT

The United States of America, by and through Alamdar S. Hamdani, United States
Attorney for the Southern District of Texas, and Adam Laurence Goldman, Assistant United States
Attorney, and the defendant, William Lopez (“Defendant”), and Defendant’s counsel, Sean
Buckley, pursuant to Rule L1(c)(L)(A) and 11(c)(1)(B) of the Federal Rules of Criminal
Procedure, state that they have entered into an agreement, the terms and conditions of which are
as follows:

Defendant’s Agreement

1. Defendant agrees to plead guilty to Counts 1 and 4 of the Indictment. Count 1 charges
Defendant with Conspiracy to Engage in Sex Trafficking by Means of Force, Threats, Fraud, and
Coercion, in violation of Title 18, United States Code, Sections 1594{c) and 1591(a). Count 4
charges Defendant with Aiding and Abetting Sex Trafficking by Means of Force, Threats, Fraud,
and Coercion, in violation of Title 18, United States Code, Sections 1591 (a) and 2. Defendant,
by entering this plea, agrees that he is waiving any right to have the facts that the law makes
essential to the punishment either charged in the indictment, or proved to a jury or proven beyond

a reasonable doubt,

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Punishment Range

2. The statutory maximum penalty for each violation of Title 18, United States Code,
Section 1594(c) and 1591 (a), is imprisonment for not less than any term of years of imprisonment
and not more than life imprisonment and a fine of not more than $250,000.00 The statutory
maximum penalty for a violation of Title 18, United States Code, Sections 1591(a) and 2, is
imprisonment for not less than 15 years and not more than life imprisonment and a fine of not
more than $250,000.00 With a conviction for Counts | or 4, there is a mandatory restitution under
Title 18, United States Code, Section 1593 which is not fess than the full amount of the victims’
losses. Additionally, under Counts | and 4, Defendant may receive a term of supervised release
after imprisonment of not less than 5 years and up to life. See Title 18, United States Code, section
3583(k). Defendant acknowledges and understands that ifhe should violate the conditions of any
period of supervised release which may be imposed as part of his sentence, then Defendant may
be imprisonment for the entire term of supervised release, without credit for time already served
on the term of supervised release prior to such violation. See Title 18, United Stated Code,
sections 3559(a)(3) and 3583(e\(3). Defendant understands that he cannot have the imposition or
execution of the sentence suspended, nor is he eligible for parole.

Mandatory Special Assessment

3. Pursuant to Title 18, United States Code, section 3013(a)(2\(A), immediately after
sentencing, Defendant will pay to the Clerk of the United States District Court a special assessment
in the amount of one hundred dollars ($100.00) per count of conviction, The payment will be by
cashier’s check or money order, payable to the Clerk of the United States District Court, c/o District

Clerk's Office, P.O. Box 61010, Houston, Texas 77208, Attention: Finance,

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4, Pursuant to Tithe 18, United States Code, Section 301 4(a)(3), if the court determines
that the Defendant is a non-indigent person, the Defendant will pay to the Clerk of the United
States District Court a special assessment in the amount of five thousand dollars ($5,000.00) per
count of conviction, The payment will be by cashier’s check or money order, payable to the Clerk
of the United States District Court, c/o District Clerk's Office, P.O. Box 61010, Houston, Texas
77208, Attention: Finance.

Immigration Consequences

5. Defendant recognizes that pleading guilty may have consequences with respect to his
immigration status. Defendant understands that if he is not a citizen of the United States, by
pleading guilty he may be removed from the United States, denied citizenship, and denied
admission to the United States in the future. Defendant understands that if he is a naturalized
United States citizen, pleading guilty may result in immigration consequences, such as
denaturalization and potential deportation or removal from the United States. Defendant’s
attorney has advised Defendant of the potential immigration consequences resulting from
Defendant’s plea of guilty, and Defendant affirms that he wants to plead guilty regardless of any
immigration consequences that may result from the guilty plea and conviction.

Cooperation

6. The parties understand this agreement carries the potential for a motion for departure
under Section SK1.1 of the Sentencing Guidelines. Defendant understands and agrees that
whether such a motion is filed will be determined solely by the United States through the United
States Attorney for the Southern District of Texas. Should Defendant's cooperation, in the sole

judgment and discretion of the United States, amount to “substantial assistance,” the United States

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reserves the sole right to file a motion for departure pursuant to Section SK1.1 of the United States
Sentencing Guidelines. Defendant further agrees to persist in that plea through sentencing, fully
cooperate with the United States, not oppose the forfeiture of assets contemplated in paragraphs
18-27 of this agreement. Defendant understands and agrees that the United States will request
that sentencing be deferred until that cooperation is complete.

7. Defendant understands and agrees that “fully cooperate,” as that term is used herein,
includes providing all information relating to any criminal activity known to Defendant, including
but not limited to sex trafficking, human smuggling, drugs, and illegal firearms. Defendant
understands that such information includes both state and federal offenses arising therefrom. In
that regard:

(a) Defendant agrees that this plea agreement binds only the United States

Attorney for the Southern District of Texas and Defendant; it does not bind any

other United States Attorney or any other unit of the Department of Justice;

(b) Defendant agrees to testify truthfully as a witness before a grand jury or in

any other judicial or administrative proceeding when called upon to do so by the

United States. Defendant further agrees to waive his Fifth Amendment privilege

against self-incrimination for the purpose of this agreement;

(c) Defendant agrees to voluntarily attend any interviews and conferences as
the United States may request;

(d) Defendant agrees to provide truthful, complete and accurate information
and testimony and understands any false statements made by the defendant to the
Grand Jury or at any court proceeding (criminal or civil), or to a government agent
or attorney, can and will be prosecuted under the appropriate perjury, false
statement, or obstruction statutes;

(e) Defendant agrees to provide to the United States all documents in his
possession or under his control relating to all areas of inquiry and investigation; and

(f) Should the recommended departure, if any, not meet Defendant’s
expectations, the Defendant understands that he remains bound by the terms of this
agreement and cannot, for that reason alone, withdraw his plea.

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Waiver of Appeal and Collateral Review

8. Defendant is aware that Title 28, United States Code, section 1291, and Title 18, United
States Code, section 3742, afford a defendant the right to appeal the conviction and sentence
imposed, Defendant is also aware that Title 28, United States Code, section 2255, affords the right
to contest or “collaterally attack” a conviction or sentence after the judgment of conviction and
sentence has become final. Defendant knowingly and voluntarily waives the right to appeal or
“collaterally attack” the conviction and sentence, except that Defendant does not waive the right
to raise a claim of ineffective assistance of counsel on direct appeal, if otherwise permitted, or on
collateral review in a motion under Title 28, United States Code, section 2255, In the event
Defendant files a notice of appeal following the imposition of the sentence or later collaterally
attacks his conviction or sentence, the United States will assert its rights under this agreement and
seek specific performance of these waivers.

9. In agreeing to these waivers, Defendant is aware that a sentence has not yet been
determined by the Court, Defendant is also aware that any estimate of the possible sentencing
range under the sentencing guidelines that he may have received from his counsel, the United
States or the Probation Office, is a prediction and not a promise, did not induce his guilty plea, and
is not binding on the United States, the Probation Office or the Court. The United States does not
make any promise or representation concerning what sentence the defendant will receive.
Defendant further understands and agrees that the United States Sentencing Guidelines are
“effectively advisory” to the Court. See United States v. Booker, 543 U.S. 220 (2005).

Accordingly, Defendant understands that, although the Court must consult the Sentencing

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Guidelines and must take them into account when sentencing Defendant, the Court is not bound
to follow the Sentencing Guidelines nor sentence Defendant within the calculated guideline range.
10, Defendant understands and agrees that each and all waivers contained in the
Agreement are made in exchange for the concessions made by the United States in this plea
agreement,
The United States Agreements
11. The United States agrees to each of the following:

(a) If Defendant pleads guilty to Counts | and 4 of the indictment and persists
in that plea through sentencing, and if the Court accepts this plea agreement, the
United States will move to dismiss any remaining counts of the indictment at the
time of sentencing;

(b) If the Court determines that Defendant qualifies for an adjustment under
section 3E1.1(a) of the United States Sentencing Guidelines, and the offense level
prior to operation of section 3E1.1(a) is 16 or greater, the United States will move
under section 3E1.1(b) for an additional one-level reduction because Defendant
timely notified authorities of his intent to plead guilty, thereby permitting the
United States to avoid preparing for trial and permitting the United States and the
Court to allocate their resources more efficiently.

(c) The United States agrees to recommend that, in the event Defendant is
convicted of an offense pursuant to 21 U.S.C. §§ 841 and/or 846 regarding any such
offenses in the Harris County Jail or Joe Corley Detention Facility occurring from
2021 through January, 2025, any such sentence would run concurrently to any
sentence imposed in the instant case.

(d) The United States agrees, pursuant to Fed. R. Crim. P. 11(c)(1)(B), to be
unopposed to a sentencing range of no greater than 360 months to life
imprisonment, to recommend a sentence of no greater than 720 months of
imprisonment, and that this plea agreement does not foreclose Defendant’s ability
to file a motion for a downward departure under U.S.S.G. § 4A1.3 or a downward
variance,

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Agreement Binding - Southern District of Texas Only

12, The United States Attorney’s Office for the Southern District of Texas agrees that it
will not further criminally prosecute Defendant in the Southern District of Texas for offenses
arising from conduct charged in the indictment. This plea agreement binds only the United States
Attorney’s Office for the Southern District of Texas and Defendant. It does not bind any other
United States Attorney’s Office. The United States Attorney’s Office for the Southern District of
Texas will bring this plea agreement and the full extent of Defendant’s cooperation to the attention
of other prosecuting offices, if requested.

United States- Non-Waiver of Appeal

13, The United States reserves the right to carry out its responsibilities under guidelines
sentencing. Specifically, the United States reserves the right:

(a) to bring its version of the facts of this case, including its evidence file and

any investigative files, to the attention of the Probation Office in connection with

that office’s preparation of a presentence report;

(b) to set forth or dispute sentencing factors or facts material to sentencing;

(c) to seek resolution of such factors or facts in conference with Defendant's
counsel and the Probation Office;

(d) to file a pleading relating to these issues, in accordance with section 6A1.2
of the United States Sentencing Guidelines and Title 18, United States Code,
section 3553(a); and
(e) to appea! the sentence imposed or the manner in which it was determined.
Sentence Determination
14. Defendant is aware that the sentence will be imposed after consideration of the United
States Sentencing Guidelines and Policy Statements, which are only advisory, as well as the

provisions of Title 18, United States Code, section 3553(a). Defendant nonetheless acknowledges

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and agrees that the Court has authority to impose any sentence up to and including the statutory
maximum set for the offenses to which Defendant pleads guilty, and that the sentence to be
imposed is within the sole discretion of the sentencing judge after the Court has consulted the
applicable Sentencing Guidelines. Defendant understands and agrees that the parties’ positions
regarding the application of the Sentencing Guidelines do not bind the Court and that the sentence
imposed is within the discretion of the sentencing judge. Ifthe Court should impose any sentence
up to the maximum established by statute, or should the Court order any or all of the sentences
imposed to run consecutively, Defendant cannot, for that reason alone, withdraw a guilty plea, and
will remain bound to fulfill all of the obligations under this plea agreement.
Rights at Trial

15, Defendant understands that by entering into this agreement, he surrenders certain
rights as provided in this plea agreement. Defendant understands that the rights of a defendant
include the following:

(a) If Defendant persisted in a plea of not guilty to the charges, defendant would

have the right to a speedy jury trial with the assistance of counsel. The trial may

be conducted by a judge sitting without a jury if Defendant, the United States, and

the court all agree.

{b}  Atatrial, the United States would be required to present witnesses and other

evidence against Defendant. Defendant would have the opportunity to confront

those witnesses and his attorney would be allowed to cross-examine them. In turn,

Defendant could, but would not be required to, present witnesses and other

evidence on his own behalf. If the witnesses for Defendant would not appear

voluntarily, he could require their attendance through the subpoena power of the

court; and

(c) Ata trial, Defendant could rely ona privilege against self-incrimination and

decline to testify, and no inference of guilt could be drawn from such refusal to
testify. However, if Defendant desired to do so, he could testify on his own behalf.

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Factual Basis for Guilty Plea

16. Defendant is pleading guilty because he is in fact guilty of the charges contained in
Counts | and 4 of the indictment. If this case were to proceed to trial, the United States could
prove each element of the offenses charged beyond a reasonable doubt. The following facts,
among others, would be offered to establish Defendant’s guilt:
1. Overview

The Southwest Cholos and its associates (hereinafter referred to as “SWC”) are a criminal
organization based in Southwest Houston, which is within the Southern District of Texas. In
addition to its members, SWC also has associates operating throughout Texas, Mexico, and Central
America who act in furtherance of the criminal scheme described herein affecting interstate and
foreign commerce. SWC members and associates are engaged in a variety of criminal conduct,
including, but not limited to, sex trafficking, drug trafficking, firearms trafficking, alien
smuggling, and the smuggling of illega! aliens into and within the United States in order for the
illegal aliens to engage in prostitution. ‘This includes SWC members and associates operating
brothels in Houston, Texas (which is within the Southern District of Texas), and Mexico and
transporting individuals and money between the two countries which affects interstate and foreign
commerce. Among the brothels operated by SWC in the Southern District of Texas were those
at:

H The Carriage Way Apartments, 6021-23 Dashwood, Houston, Texas 77081 (which was
operated by Maria Angelica Moreno-Reyna (“Patty”); was managed by Gabriela
Gonzalez-Flores (“Gabby”); had security provided by, amongst others, Nddie Alejandro

Torres (“Eddie”) (who specifically provided security in a truck with red security strobe

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lights), Ran] Moreno (“Coney”), and Erik Ivan Alvarez-Chavez (“Ivan”); and had

furniture and drinks provided by Ivan));

E The Englewood Vilage Apartment, 6363 Skyline Drive, Unit 57 Houston, Texas 77057

(which was operated by Patty and Eddie; and managed by Gabby); and

M@ The Las Velas Apartments, 7111 Hillcroft, Houston, Texas 77081; The Bella Luna

Apartment, 5261 Westward Street, First Floor, Houston, Texas 77081; the Windswept

Gardens, 6320 Windswept Road, Building 5559 Houston, Texas 77057; and the Coral

Heights Apartment, 6363 Beverly Hills Street, Second Floor of Building 69-76, Houston

Texas 77057 (which were operated by Walter Lopez (“Walter”); managed by Gabby,

Claudia Soriano-Hernandez (“Claudia”), and Anadalit Duarte (“Anadalit”); provided

with prostitutes (including juveniles) by Hector Reyna (“Hector”) that he recruited

through sex trafficking; and provided controlled substances for the prostitutes (some of
who were sex trafficking victims and/or juveniles) to calm them down so SWC members
and associates could control them by Bianca Reyna (“Bianca”),

SWC and its associates also had a brothel in Cancun, Mexico, which was operated by
William Lopez (“William”), SWC members and associates also used stash houses, including
those operated by Melisa Dominguez (“Melisa”), in the Southern District of Texas portion of the
Rio Grande Valley to house the smuggled illegal aliens, including sex trafficking victims, as they
travelled from outside of the United States to the Houston, Texas vicinity.

IL. MAVM
In 2010, William, Patty and Gilbert Garcia (“Gilbert”), made arrangements to transport

MAVM to the United States to work at one of the organization’s brothels in Houston, Texas, which

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included having Coney assist MAVM in crossing the United States-Mexico border without being
inspected by immigration officers. However, MAVM was apprehended by immigration officers
and returned to Mexico. Afterwards, William successfully had MAVM transported across the
United States-Mexico border, and she was then transported to Houston. Once in Houston,
MAYM worked at the brothels located at 6021-23 Dashwood, Houston, Texas 77081, as well as
the brothel at the Maria Bonita Cantina, 8403 Clinton Drive, Houston, Texas 77029, which, at the
time, were operated by Eddie and Patty, and managed on a day-to-day basis by Gabby. At these
brothels, William, Walter, and Eddie acted as pimps to control the women working there as
prostitutes. MAVM eventually indicated that she no longer wanted to work as a prostitute. In
order to make her continue to work in that capacity, William assaulted her and threatened to have
her deported without her baby, who was born in the United States.
Ti. EMR

In August 2011, EMR, a non-citizen of the United States, was illegally smuggled into the
United States to work as a prostitute for a different sex trafficking organization. While working
for this other sex trafficking organization, EMR met William, Eddie, Walter, and Freddy Montes
(“Freddy”), William, Eddie, Walter, and Freddy offered EMR a job as a prostitute at a SWC
controlled brothel at 6021-23 Dashwood Street, Houston, Texas 77081, where she would work
under Patty and Eddie. That brothel was primarily supervised on a day-to-day basis by Gabby.
EMR agreed. However, after EMR began working there, William used and threatened to use acts
of violence, including assault, to have EMR work as a prostitute even on dates and times when she
did not want to do so voluntarily. William aiso used acts and threatened acts of physical violence

to have EMR tattoo his name on to her right arm. Asa result of these acts and threatened acts of

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violence, on or about February 14, 2012, EMR returned to Mexico to reside with her family.
Then, in early March 2012, William came to the residence of EMR and her family in Mexico to
make arrangements to smuggle EMR back into the United States so that she could continue to
work as a prostitute for the SWC organization. EMR agreed to be smuggled back into the United
States to continue working as a prostitute for the SWC organization under Patty because she was
afraid that William would harm her and her family based on William’s prior conduct, and his
knowledge of where her (EMR’s) family lived in Mexico. Patty made arrangements for EMR to
be smuggled back into the United States, specifically from Mexico to Houston, Texas, with part
of the journey being via tractor-trailer. However, on April 24, 2012, the tractor-trailer in which
EMR was being transported was intercepted by immigration authorities and EMR was
apprehended. EMR was later released from immigration custody and returned to Houston, Texas
where she once again worked as a prostitute at the brothel operated by Patty located at 6021-23
Dashwood, Houston, Texas 77081, as well as the brothel operated by Patty and Eddie at 6363
Skyline Drive, Houston, Texas 77057. William then instructed EMR to get cosmetic surgery
because he believed EMR was not making sufficient money for the organization as a prostitute.
During this time, EMR resided with Freddy and William, EMR’s residing with Freddy and
William, agreeing to cosmetic surgery, and returning to work as a prostitute were due to the acts
and threatened acts of physica! violence by William. Nevertheless, due to the acts and threatened
acts of physical violence by William, EMR returned on a second occasion to Mexico again to
reside with her family. However, William then contacted EMR’s family in Mexico and requested
that EMR return to Houston to work as a prostitute for the organization. Due to the fear from the

previous acts and threatened acts of violence by William, EMR returned to Houston. Again,

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Patty assisted EMR in being smuggled back into the United States to work again as a prostitute
for the organization in Houston, Texas. Part of this transportation was conducted by Gilbert
Garcia (“Gilbert”). However, on July 18, 2013, Gilbert and EMR were apprehended by
immigration authorities. EMR was again released from immigration custody and returned to
Houston, Texas, where she once again worked as a prostitute at the brothels operated by Patty and
Eddie. When EMR returned, William physicaliy abused her, in part, for her prior departures.
IV. AP

Beginning in September 2012, AP, a non-citizen, met William in Mexico. William
offered to smuggle AP into the United States in exchange for $4,500, which William stated AP
would pay back by working in a restaurant operated by Patty. AP agreed to this arrangement.
William then made arrangements to smuggle AP into the United States, at which point she was
transported to a stash house in McAlien, Texas, operated by Melisa. Once at the stash house in
McAllen, Texas, Freddy provided AP with a cellular telephone and took her to a hotei, where she
stayed for approximately three (3) days while Freddy made arrangements to transport AP to
Houston, Texas. In Houston, Texas, AP met with Patty and William for lunch at a Chinese
restaurant, William and Patty asked AP many questions about AP and her family in Mexico.
Patty told AP that the $4,500.00 it cost to smuggle AP into the United States was paid by her
(Patty) and William. AP agreed to pay them back and agreed to work at Patty’s restaurant.
Patty informed AP that there was no restaurant. Instead, AP was going to have sex with men for
money. AP worked at the brothel located at 6021-23 Dashwood, Houston, Texas 77081, which,
at the time, was operated by Patty, William, and Ivan, and which was managed on a day-to-day

basis by Gabby. While working as a prostitute, Freddy was responsible for ensuring that AP

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continued to work in that capacity, which he did by abusing and threatening to abuse her while
they lived together and by having her tattoo his initials on her body. Freddy also informed AP
that her debt amount was incteased when he obtained a loan to purchase a truck. In addition, in
the summer of 2013, Freddy physically assaulted AP while he was driving, and AP was in the
passenger seat. In so doing, Freddy iost control of his vehicle and crashed. Furthermore,
Freddy instructed AP, while she was menstruating, to insert tissues into her vagina so that she
could continue to perform sexual intercourse as a prostitute. Additionally, AP needed to visit a
medical clinic in December 2012 and January 2013 as a result of sexually transmitted diseases she
caught while working as a prostitute.
Vv. ABP

Beginning in April 2016, ABP’s mother asked Patty to illegally smuggle ABP, a non-
citizen, into the United States from Central America, Patty agreed and charged ABP and ABP’s
mother $9,000 total. Patty sent William to ABP’s home tn Central America to smuggle ABP to
Cancun, Mexico. While in Cancun, Mexico, William obtained fake identification documents for
ABP so as to make it appear that she was a citizen ef Mexico. To obtain these Mexican
documents, ABP provided William with her original identification documents which contained
her address in her native country where her family still resided. In addition, during ABP’s time
in Cancun, Mexico, which lasted approximately three months, she worked as a prostitute in the
brothel controlled by William. In order to get ABP to work for him, William physically assaulted
ABP, gave her controlled substances to calm and control her, and carried a firearm on his person.
William also had ABP tattoo his name on her neck and thigh, ABP was later able to leave the

Cancun, Mexico brothe! without William’s knowledge or consent. ABP then contacted her

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mother to make arrangements to be illegally smuggled into the United States. ABP’s mother then
contacted Patty, who made new arrangements to smuggie ABP into the United States. Patty
contacted Coney, who assisted ABP in crossing into the United States from Mexico, However,
while crossing, ABP was apprehended by immigration officials on May 10, 2016. ABP was later
released from immigration custody by immigration officials. ABP’s mother, who resided in an
apartment at 6021-23 Dashwood, Houston, Texas 77081, went to the immigration facility to pick
ABP up and brought ABP to Houston, Texas to reside with her. Once in Houston, ABP was
instructed that she had to work as a prostitute in the broth Patty controlled and Gabby managed
on a day-to-day basis at 6021-23 Dashwood, Houston, Texas 77081, in order or ABP to repay the
smuggling fee.

On August 8, 2016, ABP indicated that she no longer wished to continue working as a
prostitute. Asa result, Patty, Walter, Eddie and another went to ABP’s residence. Patty placed
her (Patty’s) cellular telephone in front of ABP’s face so that ABP could hear William on the
other end of the telephone. William then stated that if ABP did not do what he said, William
knew where her (ABP’s) family lived and he would harm her (ABP’s) son and family in Nicaragua.
ABP believed this threat because William had ABP’s identification which listed her Nicaraguan
address. William then told ABP to return to work as a prostitute and to pay an additional
$20,000.00 tax for leaving him in Mexico and that the additional amount she owed was to be paid
by working at Patty’s brothel at 6021-23 Dashwood, Houston, Texas 77081, and the brothel
controlted by Walter at 7111 Hillcroft Avenue, Houston, Texas 77081. Later, when ABP did not
want to work, Patty reminded her about William’s threats to kill ABP’s son and family. This was

corroborated by Giovani Alecio (“Whifeboy”), ABP and ABP’s mother. On another occasion

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when ABP did not want to work, members of Patty’s organization instructed Whiteboy to threaten
ABP. When this occurred on another occasion, Jose Luis Moreno (“Jose Luis”) assaulted ABP’s
mother and pointed a gun at ABP’s mother in order to force ABP to return to work as a prostitute.
When this occurred on another occasion, Gabby assaulted ABP. When this occurred on another
occasion, specifically January 6, 2017, Gabby assaulted a member of ABP’s family as ABP locked
herself into a bathroom to avoid working as a prostitute. On several occasions that ABP refused
to work, members of Patty’s organization reminded ABP via threat that members of the
organization knew where here (ABP’s) family resided in Central America.

On January 4, 2017, in a court-authorized wire intercept, Patty and William had a
telephone conversation, which was recorded, in which they began making arrangements to bring
two of ABP’s sisters into the United States to work in a brothel controlled by SWC members and
their associates as prostitutes without their (the sisters’) knowledge that they would be working in
such a capacity. William also stated that Jose-Luis would marry one of the sisters and said “out
Vfl do her first.” Following this conversation, ABP’s sisters were moved at law enforcement’s
direction to a different location, ‘Then, days later, a vehicle matching the description of one driven
by William was observed at the former residence of ABP’s sisters.

VI. _—_—Real Properties

William admits that Patty and other co-conspirators used proceeds from the
abovementioned conspiracy to engage in sex trafficking in order to buy real properties in the
Houston, Texas vicinity, including, but not limited to:

(1) 4016 Woodleigh Street, Houston, Texas 77023;

(2) 7396 Irvington Boulevard, Houston, Texas 77022;

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(3) 1110 Coral Street, Houston, Texas 77012;

(4) 1006 Shawnee St., Houston TX 77034;

(5) 812 Yorkshire Street, Houston, Texas 77022 (iots 178 and 179); and

(6) 8126 (sometimes known as 4901} Irvington Boulevard, Houston, Texas 77009 (Lt L1, Blk

2, REED P.A.; HCAD property acct. #0741010020011), at the corner of Irvington

Boulevard and Norham Street.

William admits that Patty titled her real properties in the names of straw owners, including the
name of her (Patty’s) mother,

William admits that Patty and other co-conspirators used the foilowing real properties to
commit or facilitate the commission of the sex trafficking conspiracy: The bar at 7396 Irvington
Boulevard, Houston, Texas 77022, and the parking lot behind it (which is Lot 179 with an address
of 812 Yorkshire Street, Houston, Texas 77022), were used to attract customers who would pay
for sex with the sex trafficking victims; the house at 4016 Woodleigh Street, Houston, Texas
77023, was used to house sex trafficking victims; and the house at 1110 Coral Street, Houston,
Texas 77022, was also used to house sex trafficking victims. In addition to these above-listed
real properties in which Patty and the co-conspirators had an interest, William is also aware that
other properties (including those listed in the notice of forfeiture and described in this plea
agreement) were used to facilitate the sex trafficking conspiracy.

Breach of Plea Agreement

17. If Defendant should fail in any way to fulfill completely all of the obligations under
this plea agreement, the United States will be released from its obligations under the plea
agreement, and Defendant's plea and sentence will stand. If at any time Defendant retains,

conceals, or disposes of assets in violation of this plea agreement, or if Defendant knowingly

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withholds evidence or is otherwise not completely truthful with the United States, then the United

States may move the Court to set aside the guilty plea and reinstate prosecution. Any information

and documents that have been disclosed by Defendant, whether prior to or subsequent to this plea

agreement, and all leads derived therefrom, will be used against defendant in any prosecution.
Restitution, Forfeiture, and Fines — Generally

18. This Plea Agreement is being entered into by the United States on the basis of
Defendant’s express representation that he will make a full and complete disclosure of all assets
over which he exercises direct or indirect control, or in which he has any financial interest.
Defendant agrees not to dispose of any assets or take any action that would effect a transfer of
property in which he has an interest, unless Defendant obtains the prior written permission of the
United States.

19, Defendant agrees to make complete financial disclosure by truthfully executing a
sworn financial statement (Form OBD-500 or similar form) within 14 days of signing this plea
apreement, Defendant agrees to authorize the release of all financial information requested by
the United States, including, but not limited to, executing authorization forms permitting the
United States to obtain tax information, bank account records, credit histories, and social security
information. Defendant agrees to discuss and answer any questions by the United States relating
to Defendant’s complete financial disclosure.

20. Defendant agrees to take all steps necessary to pass clear title to forfeitable assets to
the United States and to assist fully in the collection of restitution and fines, including, but not
limited to, surrendering title, executing a warranty deed, signing a consent decree, stipulating to

facts regarding the transfer of title and the basis for the forfeiture, and signing any other documents

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necessary to effectuate such transfer. Defendant also agrees to direct any banks which have
custody of his assets to deliver all funds and records of such assets to the United States.
21. Defendant understands that forfeiture, restitution, and fines are separate components
of sentencing and are separate obligations.
Restitution
22. Defendant agrees to pay full restitution to the victims regardless of the counts of
conviction. Defendant understands and agrees that the Court will determine the amount of
restitution to fully compensate the victims. Defendant agrees that restitution imposed by the
Court will be due and payable immediately and that Defendant will not attempt to avoid or delay
payment. Subject to the provisions of paragraph 8 above, Defendant waives the right to challenge
in any manner, including by direct appeal or in a collateral proceeding, the restitution order
imposed by the Court.
Forfeiture
23. Defendant stipulates and agrees that the property listed in the Indictment’s Notice of
Forfeiture (and in any supplemental! Notices) is subject to forfeiture, and Defendant agrees to the
forfeiture of that property. In particular, but without limitation, Defendant stipulates that the
following specific property is subject to forfeiture (numbered as in the Supplement to the Notice
of Forfeiture), whether as real property or, if already sold, as the net sales proceeds in lieu of the
real property:

a. Real property at 1006 Shawnee St., in Houston, Texas (sold;
proceeds held).

b. Real property at 812 Yorkshire Street in Houston, Texas, which
is legally described as follows: Lots One Seventy-Eight (178) and One
Seventy-Nine (179} ef Block Eight (8) COLONIAL GARDENS, an

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addition in Harris County, Texas, according to the map or plat thereof
recorded in Volume 13, Page 4 of the Map Records of Harris County, Texas.
(Parking lot sold by City; net proceeds held in Cause No. 2019-29492, 165th
District Court of Harris County, Texas)

c. Real property at 7396 Irvington Boulevard, in Houston, Texas
(sold; proceeds held).

d. Real property at 4016 Woodleigh Street, in Houston, Texas,

e. Real property at Irvington Boulevard, in Houston, Texas, which
is legally described as Lot Eleven (11), Block Two (2) of P.A. REED
subdivision, an addition in Harris County, Texas, according to the map or
plat thereof recorded in Volume 25, Page 3 of the Map Records of Harris
County, Texas.

Defendant also stipulates that the additional property is subject to forfeiture:

-- Real property at 4901 Irvington Boulevard, Houston, Texas, 77079;

-- Real property at 7923 Clinton Drive, Houston, Texas 77029;

-- Real property at 7929 Clinton Drive, Houston, Texas 77029,

-- Real property (or the net sale proceeds) at 1325 Berry Road, Houston, Texas 77022;

-- Real property (or the net sale proceeds) at 1110 Coral Street, Houston, Texas 77012;

-- Real property at 8306 La Porte Drive, Houston, Texas 77012; and

-- Real property at 8312 La Porte Drive, Houston, Texas 77012.

24, Defendant agrees to waive any and all interest in any asset which is the subject of a
related administrative or judicial forfeiture proceeding, whether criminal or civil, federal or state.
Defendant stipulates and admits that one or more of the conditions set forth in Titie 21, United
States Code, section 853(p), exists.

25, Defendant consents to the order of forfeiture becoming final as to Defendant

immediately following this guilty plea, pursuant to Federal Rule of Criminal Procedure

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32.2(b)(4)(A).

26. Subject to the provisions of paragraph 8 above, Defendant waives the right to
challenge the forfeiture of property in any manner, including by direct appeal or in a collateral
proceeding.

Fines

27, Defendant understands that under the Sentencing Guidelines the Court is permitted to
order Defendant to pay a fine that is sufficient to reimburse the government for the costs of any
imprisonment or term of supervised release, if any. Defendant agrees that any fine imposed by
the Court will be due and payable immediately, and Defendant will not attempt to avoid or delay
payment. Subject to the provisions of paragraph 7 above, Defendant waives the right to challenge
the fine in any manner, including by direct appeal or in a collateral proceeding.

Notification of the Sex Offender Registration and Notification Act

28, Defendant has been advised and understands, that under the Sex Offender
Registration and Notification Act, a federal law, he must register and keep the registration current
in each of the following jurisdictions: where he resides; where he is an employee; and where he
is a student. Defendant understands that the requirement for registration includes providing his
name, his residential address and the names and addresses of any places where he is or will be an
employee or student, among other information, Defendant further understands that the
requirement to keep the registration current includes informing at least one jurisdiction in which
he resides, in an employee, or is a student not later than three (3) business days after any change

of residence, employment, or student status. Defendant has been advised, and understands, that

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failure to comply with these obligations subjects him to prosecution for failure to register under
federal law, 18 U.S.C. § 2250, which is punishable by a fine or imprisonment, or both.
Complete Agreement

29, This written plea agreement, consisting of 25 pages, including the attached addendum
of Defendant and his attorney, constitutes the complete plea agreement between the United States,
Defendant, and Defendant’s counsel. No promises or representations have been made by the
United States except as set forth in writing in this plea agreement. Defendant acknowledges that
no threats have been made against him and that he is pleading guilty freely and voluntarily because
he is guilty,

[THE REMAINDER OF THIS PAGE INTENTIONALLY LEFT BLANK].

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30. Any modification of this plea agreement must be in writing and signed by all parties.

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‘Williath Lopez
Defendant
Subscribed and sworn to before me on Sun wary ( ( ) 209

NATHAN OCHSNER, Glerk
UNITED STATES f RICT CLERK

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Deny nited Stétés District Clerk

APPROVED:

Alamdar S. Hamdani
United States Attorney

oy eZ LE SD

Adénf Laurénce Goldman Sean Buckley
Assistant United States Attorney Attorney for Defendant
Southern District of Texas

Telephone: 713-567-9534
Facsimile: 713-718-3303

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION

UNITED STATES OF AMERICA

Vv. CRIMINAL NO, H-4:17-cr-00651-6

WILLIAM LOPEZ,

(7 6on Oh dd ti toa

Defendant.

PLEA AGREEMENT -- ADDENDUM

I have fully explained to Defendant his rights with respect to the pending indictment. |
have reviewed the provisions of the United States Sentencing Commission’s Guidelines Manual
and Policy Statements and I have fully and carefully explained to Defendant the provisions of
those Guidelines which may apply in this case. I have also explained to Defendant that the
Sentencing Guidelines are only advisory and the court may sentence Defendant up to the maximum
allowed by statute per count of conviction. Further, I have carefully reviewed every part of this

plea agreement with Defendant. To my knowledge, Defendant's decision to enter into this

agreement is an informed and voluntary one.

Sean Buckley \ Date |
Attorney for Defendant

I have consulted with my attorney and fully understand all my rights with respect to the
indictment pending against me. My attorney has fully explained, and I understand, all my rights

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with respect to the provisions of the United States Sentencing Commission’s Guidelines Manual
which may apply in my case. I have read and carefully reviewed every part of this plea agreement
with my attorney. I understand this agreement and I voluntarily agree to tts terms.

ly! J | ow Ge ve j~ | D> 2-5

William Lopez j Date
Defendant

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